Case 1:20-cv-03460-KBJ Document 26 Filed 01/28/21 Page 1 of 3

yen Tb
The Honorable Ketanji Brown Jackson LET THIS BE FILED. AS OW Dismbd
US District of Court for DC HONORABLE KETANJI BROWN JACKSON

U.S. DISTRICT JUDGE
\/28)20 2,

333 Constitution Ave NW
Washington, DC 20001

December 31, 2020

RE: 20-CV-03460-KBJ

Request to amend public complaint/summons as wrong defendant served

Judge Brown Jackson,

My name is Stephen R. Somma. On December 18", 2020, | was mistakenly served a Summons in a civil
action referenced above as a defendant.

| am Stephen R. Somma and | live at 6 Overlook Drive, Madison, CT 06443, but | am not the person
identified as the defendant, Stephen Somma in this case.

This is a case of mistaken identity.

! am not or have never been an FBI Counter-Intelligence Investigator in the New York Field office for the
FBI. | have never worked for the Federal Government. | have never met Mr. Carter Page, the Plaintiff. |
have never met any of the other defendants named.

Upon receiving the complaint, | immediately wrote a letter, sent an e-mail and called the Plaintiff's
Attorney, Leslie McAdoo Gordan. (I have included a copy of my letter to her). | have not received any

reply.

| am writing to you to respectfully ask that the above public complaint referenced be amended with the
correct Stephen Somma name and address. | have also included a copy of my CT Driver's license and US
passport for further clarification.

In closing, | am very concerned this misinformation is now in the public domain and if not corrected will
impact on my personal and business reputation for integrity and honesty.

Respectfujly submitted, J
= A
Step a,
4

6 Overlook Prive, Madison, {T 064
Case 1:20-cv-03460-KBJ Document 26 Filed 01/26/83 1${age 2 of 3
Attorney McAdoo:

My name is Stephen R Somma. | live at 6 Overlook Drive in Madison, Connecticut.

While | am a former State Senator in Connecticut, t have never been an Agent in the
FBI nor any other federal agency. | have never been involved in Counter Intelligence for
the New York Field Office or even ever worked for the Federal Government.| don’t know
Carter Page nor have | ever met him.Despite these facts, you mistakenly claim that |
am a defendant in the DC Federal District Court lawsuit: Carter Page vs.

James Comey et. al. | don't aware if Mr Carter Page that the wrong Stephen Somma
was served.

You have served the wrong Stephen So t know if your client, Cater Page, is
aware of this mistake.

  
 
 

document.

“29. Stephen Somma, a.k.a.

himself as “Steve Holt” to Dr. Page during a series of meetings in March
2017.) According to the DOJ OIG, Mr. Somma is “primarily responsible for some of the
most significant errors and omissions in the FISA applications” against Dr. Page.” He is
sued in his individual capacity.”

Case: 1:20-cv-03460-KBJ

| am shocked, upset, and embarrassed by this careless and negligent misidentification
of my identity. As a former Connecticut public official, | retired from service with an
impeccable reputation for honesty and integrity.

This correspondence aims to draw attention to this mistake..In addition to sending this
email, I will sending a Certfied/Registered Letter to you: Attorney Leslie McAdoo
Gordon 1140 19th Street,NW Washington, DC 20036.

am respectfully requesting that you reply to my email/ letter and please make a
correction in writing indicating | was improperly served and that FBI Agent Stephen M
Somma of the New York Field Office is the intended defendant.

 
Case 1:20-cv-03460-KBJ Document 26 Filed 01/28/21 Page 3 of 3

x

froslistbestbscsredslfifedil ol? PHM bch ifeaghil Sosy: SUES PSE
A astapetefefsig: il 33 ce ice . :

PPE ES GST Sze

1000 oq “ysunryy a |

My Ay WEY ELE ) | rere |
D948 PMD pray SO EE
Ug Mus POA) Malay Dg woury yl.

Z0-S286r ldSOesu

Pe ee eS
OL 7S
INNOWY
o cosine
ie
"| Wod
diva a8¥180e SA

Ssdsrressrsssiza ade
FELETECEE2 2222 riei

GpGPEEE RESTLESS: gei3

“AN 9_1 wapowy
anu yoy4ang 2)
ua -y veg

10006 00 2052 O90T DOOD Onn0 Orde

i =

 
